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                                                                                ____ FILED ___ ENTERED
                                                                                ____ LOGGED _____ RECEIVED

                                                                               11:12 am, Aug 10 2023
                    AFFIDAVIT IN SUPPORT OF SEARCH WARRANT                      AT BALTIMORE
                                FILED UNDER SEAL                                CLERK, U.S. DISTRICT COURT
                                                                                DISTRICT OF MARYLAND
                                                                                BY ______________Deputy
Your Affiant, Victoria Brown, being duly sworn, deposes and states the following:

                        AFFIANT’S TRAINING AND EXPERIENCE

       1.      I am a Deportation Officer with the Department of Homeland Security’s

Immigration and Customs Enforcement (ICE). I have been employed as a Deportation Officer

since September 2021. In that capacity, I investigate civil and criminal offenses pertaining to

United States immigration law.      I am a graduate of the U.S. Immigration and Customs

Enforcement Academy, Basic Immigration Enforcement Training Program.            I am currently

assigned to the Criminal Alien Program (CAP) Unit, as well as the Enforcement and Removal

Operations (ERO) Criminal Prosecutions Unit in the Baltimore Field Office.           I regularly

participate in trainings related to immigration law and enforcement and have completed

numerous immigration investigations regarding Reentry After Removal.

       2.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, documents, and witnesses.

       3.       Through training, knowledge, and experience, your Affiant knows that electronic

devices like cellular phones often store location data and attribution evidence that demonstrate

where a user was living, working, and traveling.          Cellular phones frequently contain

photographs, emails, web searches, map searches, and limited GPS data that relay the location of

the user at a given time.

       4.      Your Affiant is familiar with the facts and circumstances of this investigation

based upon her review of available information and information provided to your Affiant from

others, including officers with the Baltimore County Police Department and officers within the



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Harford County Police Department. Your Affiant has not included within this affidavit every

fact known through the course of the investigation but has included those facts your Affiant

believes are sufficient to establish probable cause that the violations set forth below have

occurred and are occurring. However, I have not omitted any fact that might tend to defeat a

finding of probable cause. Unless otherwise indicated, all written and oral statements referred to

herein are set forth in substance and in part, rather than verbatim.

                               DEVICE TO BE SEARCHED

       5.      This affidavit is submitted in support of an application for a search warrant,

pursuant to Rule 41 of the Federal Rules of Criminal Procedure, to search the contents of the

following seized device:

               i.      Samsung      Galaxy     A03s;    Serial      No.   R9WT80SVG8Z;       IMEI

                       354327821601621        (TARGET        DEVICE),      further   described   in

                       Attachment A, which was seized from Jose Cruz-Rosa (“CRUZ-Rosa”)

                       incident to his arrest on federal charges.

       6.      As set forth below, there is probable cause to believe that a search of the

TARGET DEVICE may uncover the evidence, fruits, and/or instrumentalities of violations of 8

U.S.C. § 1326 (Re-Entry of Removed Alien), and 18 U.S.C. § 2250 (Failure to Register) (the

“TARGET OFFENSES”).

                                   INVESTIGATIVE FACTS

       7.      This application arises from the continuing investigation into possible

immigration crimes and failure to register as a sex offender.

       8.      On August 10, 2021, officers with the Baltimore County Police Department were

dispatched to Fuselage Avenue and Right Wing Drive, Middle River, Maryland 21220. A



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fifteen-year-old victim was riding her bike when she was forced into a white van and sexually

assaulted by CRUZ-Rosa.

       9.         Following this incident, CRUZ-Rosa was arrested in Baltimore County for Sex

Offense Third Degree, Sex Offense Fourth Degree—Sex Contact, and Assault Second Degree

charges. On January 18, 2022, CRUZ-Rosa was convicted of Third Degree Sex Offense and

sentenced to 10 years in prison, with all but approximately seven months suspended, and 5 years’

probation. Case No. C-03-CR-21-003493. CRUZ-Rosa was also ordered to register as a Tier II

Sex Offender with the State of Maryland.

       10.        At the time of that conviction, CRUZ-Rosa was in the United States illegally. As

a result, Immigration and Customs Enforcement determined that the subject would be taken into

custody, for immigration proceedings.        On April 22, 2022, at approximately 0955 hours

Members of Fugitive Operations Team 2 approached Cruz-Rosa at the District Court for

Baltimore County, located at 8914 Kelso Dr. Baltimore, MD 21221.                CRUZ-Rosa was

encountered inside the Parole and Probation office and a field interview was conducted. During

the interview the subject was asked what his complete name was, and he stated, “Jose Noe Cruz

Rosa.” Upon positive identification, officers identified themselves as Immigration Officers and

placed CRUZ-Rosa under arrest. CRUZ-Rosa was transported to the Baltimore filed office

without incident.

       11.        On July 15, 2022, CRUZ-Rosa was deported from the United States and returned

to El Salvador.




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                             WARRANT AND NEW CHARGES

       12.     On or about March 7, 2023, CRUZ-Rosa was identified by law enforcement

officers on the scene of a work-site accident in Harford County, Maryland.          He provided

information about that investigation, including his own name and Maryland address. Local law

enforcement at the time of the encounter were unaware that CRUZ-Rosa was unlawfully present

in the United States and a convicted sex offender. Records show that on that date, CRUZ-Rosa

had not registered as a sex offender in Maryland since his deportation in July 2022, but it is

unclear how long CRUZ-Rosa had been in Maryland prior to March 2023.

       13.     On July 18, 2023, the federal grand jury returned an indictment against CRUZ-

Rosa, charging him with violating 8 U.S.C. § 1326 (Illegal Re-entry) and 18 U.S.C. § 2250

(Failure to Register as a Sex Offender). See United States v. Cruz-Rosa, 23-cr-242 (RDB) (D.

Md.). CRUZ-Rosa was arrested for this indictment on July 19, 2023. In a search incident to

arrest, law enforcement seized the TARGET DEVICE from CRUZ-Rosa’s right pants pocket.

       14.     You Affiant knows that the length of time CRUZ-Rosa has been in the United

States and Maryland is relevant to the investigation of his failure to register as a sex offender.

Through my training, knowledge and experience, CRUZ-Rosa has likely been using the cellular

phone seized from his person when he was arrested on July 19, 2023, to communicate, send

emails, travel, and browse the internet. The location data within the cellular applications CRUZ-

Rosa is using will aid in establishing both when he illegally re-entered the United States and how

long he was present without registering as a sex offer within Maryland.




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                                        CONCLUSION

       15.     Because the TARGET DEVICE is already in the custody of law enforcement,

who will compile the requested records at convenient time, reasonable cause exists to permit the

execution of the requested warrants at any time in the day or night.

       16.     Based upon the information contained in this affidavit, your Affiant submits that

there is probable cause to believe that the TARGET DEVICE has been used in connection with

the TARGET OFFENSES. Specifically, probable cause exists to believe the TARGET

DEVICE contain evidence, fruits, and/or instrumentalities of violations of 8 U.S.C. § 1326 (Re-

Entry of Removed Alien), and 18 U.S.C. § 2250 (Failure to Register). By this affidavit and

application, your Affiant requests that the Court issue search warrants authorizing the

examination of the TARGET DEVICE described under Device to be Searched.




                                             Victoria Brown
                                             Criminal Apprehension Program/ECP
                                             TFO - National Security Group/Document and
                                             Benefit Fraud Task Force
                                             Baltimore Field Office
                                             Enforcement and Removal Operations (ERO)
                                             U.S. Immigration and Customs Enforcement




Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
                                          27th
Fed. R. Crim. P. 4.1 and 41(d)(3) on this _____day       July
                                                    of _____________,   2023.


                                             ______________________________________
                                             HONORABLE MATTHEW J. MADDOX
                                             UNITED STATES MAGISTRATE JUDGE
                                             DISTRICT OF MARYLAND



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                                    ATTACHMENT A

                              DEVICE TO BE SEARCHED

       The item to be searched is Samsung Galaxy A03s; Serial No. R9WT80SVG8Z; IMEI

354327821601621, currently in the custody of HIS-Baltimore.




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                                      ATTACHMENT B

                                    ITEMS TO BE SEIZED

       All records contained in the TARGET DEVICE which constitute evidence of violations

of 8 U.S.C. § 1326 (Re-Entry of Removed Alien), and 18 U.S.C. § 2250 (Failure to Register) as

outlined below:

   1. All records relating to email accounts/messages/user information containing information
      regarding the travel and residency of the TARGET DEVICE user.

   2. Any and all records related to the location of the user(s) of the TARGET DEVICE.

   3. For the TARGET DEVICE:

       a. Evidence of who used, owned, or controlled the TARGET DEVICE at the time the
          things described in this warrant were created, edited, or deleted, such as logs, registry
          entries, configuration files, saved usernames and passwords, documents, browsing
          history, user profiles, email, email contacts, “chat,” instant messaging logs,
          photographs, and correspondence;

       b. Evidence of software that would allow others to control the TARGET DEVICE, such
          as viruses, Trojan horses, and other forms of malicious software, as well as evidence
          of the presence or absence of security software designed to detect malicious software;

       c. Evidence of the lack of such malicious software;

       d. Evidence of the times the TARGET DEVICE were used;

       e. Passwords, encryption keys, and other access devices that may be necessary to access
          the TARGET DEVICE;

       f. Contextual information necessary to understand the evidence described in this
          attachment.

   4. With respect to the search of the TARGET DEVICE the search procedure may include
      the following techniques (the following is a non-exclusive list, and the government may
      use other procedures that, like those listed below, minimize the review of information not
      within the list of items to be seized as set forth herein, while permitting government
      examination of all the data necessary to determine whether that data falls within the items
      to be seized):




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               a.      surveying various file “directories” and the individual files they contain
                       (analogous to looking at the outside of a file cabinet for markings it
                       contains and opening a drawer believed to contain pertinent files);

               b.      “opening” or cursorily reading the first few “pages” of such files in order
                       to determine their precise contents;

               c.      “scanning” storage areas to discover and possible recover recently deleted
                       files;

               d.      “scanning” storage areas for deliberately hidden files; or

               e.      performing key word searches or other search and retrieval searches
                       through all electronic storage areas to determine whether occurrences of
                       language contained in such storage areas exist that are intimately related to
                       the subject matter of the investigation.

   5. If after performing these procedures, the directories, files or storage areas do not reveal
      evidence of the specified criminal activity, the further search of that particular directory,
      file or storage area, shall cease.

       With respect to the search of the information provided pursuant to this warrant, law

enforcement personnel will make reasonable efforts to use methods and procedures that will

locate and expose those categories of files, documents, communications, or other electronically

stored information that are identified with particularity in the warrant while minimizing the

review of information not within the list of items to be seized as set forth herein, to the extent

reasonably practicable. If the government identifies any seized communications that may

implicate the attorney-client privilege, law enforcement personnel will discontinue its review and

take appropriate steps to segregate all potentially privileged information so as to protect it from

substantive review. The investigative team will take no further steps regarding any review of

information so segregated absent further order of the court. The investigative team may continue

to review any information not segregated as potentially privileged.




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